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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 19-CV-00293-PAB-STV

  GILBERT T. TSO, individually

        Plaintiff,

  v.

  REBECCA MURRAY, individually;
  TANYA AKINS, individually and official capacities;
  SHERR PUTTMANN AKINS LAMB PC, a law firm;
  JEANNIE RIDINGS, individually;
  KILILIS RIDINGS & VANAU PC, a law firm;
  RUSSELL M. MURRAY, individually;
  DENA MURRAY, individually;
  JOANNE JENSEN, individually;
  RICHARD F. SPIEGLE Psy.D., individually,
  ELIZABETH A. STARRS, individually,
  DAVID P. BRODSKY, individually,
  CHARLES D. JOHNSON, individually,
  ROSS B.H. BUCHANAN, individually,
  DAVID H. GOLDBERG, individually,
  MONICA JACKSON, individual and official capacity,
  LARA DELKA, individual and official capacity,
  CHRISTIAN MADDY, individual and official capacity,
  JENNIFER ADELMANN, individual and official capacity,
  DON MARES, official capacity,
  BARRY PARDUS, official capacity,
  MICHAEL DIXON, official capacity,
  CYNTHIA COFFMAN, official capacity,
  19TH JUDICIAL CIRCUIT COURT, LAKE CO., IL,
  2ND DISTRICT COURT, DENVER COUNTY, CO,
  DENVER DEPT. OF HUMAN SERVICES,
  COLORADO DIVISION OF MOTOR VEHICLES,
  and CITY AND COUNTY OF DENVER

        Defendants.



                     ENTRY OF APPEARANCE OF PETER R. PIDERMANN
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         Attorney Peter R. Pidermann of the law firm Taylor | Anderson, LLP hereby enters his

  appearance on behalf of Defendant Richard F. Spiegle, Psy. D. in the above-captioned matter.


  Respectfully submitted this 5th day of March, 2021.

                                                        s/ Peter R. Pidermann
                                                        James D Murdock, II No. 47527
                                                        Peter R. Pidermann, No. 53085
                                                        Taylor|Anderson, LLP
                                                        1670 Broadway, Suite 900
                                                        Denver, CO 80202
                                                        Tele: (303) 551-6660
                                                        Fax: (303) 551-6655
                                                        jdmurdock@talawfirm.com
                                                        ppidermann@talawfirm.com
                                                        Attorneys for Richard F. Spiegle, Psy. D.
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                                    CERTIFICATE OF SERVICE

          I hereby certify that on this 5th day of March 2021, a true and correct copy of the foregoing
  ENTRY OF APPEARANCE OF PETER R. PIDERMANN was filed with the court and served
  on the following:

             Gilbert T. Tso
             4255 Kittredge St., #922
             Denver, CO 80239
             Pro Se Petitioner

             Robert A. Wolf
             Sherri Catalano
             City and County of Denver
             1200 Federal Boulevard, 4th Floor
             Denver, CO 80204

             Allison R. Ailer
             State of Colorado
             Assistant Attorney General
             1300 Broadway, 10th Floor
             Denver, CO 80203

             Tory Drew Riter
             Kelly L. Kafer
             Morgan Rider Riter Tsai, P.C.
             1512 Larimer Street, Suite 450
             Denver, CO 80202

             Richard Maxton Murray
             Polsinelli PC-Denver
             1401 Lawrence Street
             Suite 2300
             Denver, CO 80202
             303-583-8242

             Eric Ziporin
             Ryan McGrath
             Senter Goldfarb & Rice LLC
             3900 E. Mexico Ave., Suite 700
             Denver, CO 80210

                                                        s/Theresa A. Coe
                                                          Theresa A. Coe
